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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

 In Re:                                                  Case No. 8:19-BK-02054-CPM

 SCOTT J CURRY and                                       Chapter 7
 FAITH E JACKSON-CURRY,

                   Debtors.
                                                   /


                  REQUEST FOR SPECIAL NOTICE AND SERVICE OF COPIES


TO:        UNITED STATES BANKRUPTCY JUDGE, THE DEBTOR(S), AND ALL INTERESTED
           PARTIES

           PLEASE TAKE NOTICE that ALDRIDGE PITE, LLP submits this Request for Special Notice

and Service of Copies, for Bank of America Mortgage and hereby requests special notice of all events

relevant to the above-referenced bankruptcy and copies of all pleadings or documents filed in relation to

the above-referenced bankruptcy, including all pleadings or notices under Federal Rules of Bankruptcy

Procedure, Rule 2002, the commencement of any adversary proceedings, the filing of any requests for

hearing, objections, and/or notices of motion, or any other auxiliary filings, as well as notice of all

matters which must be noticed to creditors, creditors committees and parties-in-interest and other notices

as required by the United States Bankruptcy Code and Rules and/or Local Rules of the above-referenced

bankruptcy court.
           ALDRIDGE PITE, LLP, requests that for all notice purposes and for inclusion in the Master

Mailing List in this case, the following address be used:

                                            Wanda D. Murray
                                         ALDRIDGE PITE, LLP
                                         Fifteen Piedmont Center
                                   3575 Piedmont Road, N.E., Suite 500
                                            Atlanta, GA 30305
           Neither this Request for Special Notice nor any subsequent appearance, pleading, claim, proof of

claim, documents, suit, motion nor any other writing or conduct, shall constitute a waiver of the within

party's:




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       a.       Right to have any and all final orders in any and all non-core matters entered only after de

novo review by a United States District Court Judge;

       b.       Right to receive service pursuant to Fed. R. Civ. P. 4 made applicable to the instant

proceeding by Fed. R. Bankr. P. 7004. This Request for Special Notice shall not operate as a confession

and/or concession of jurisdiction. Moreover, the within party does not authorize Aldridge Pite, LLP,

either expressly or impliedly through Aldridge Pite, LLP’s participation in the instant proceeding, to act

as its agent for purposes of service under Fed. R. Bankr. P. 7004;

       c.       Right to trial by jury in any proceeding as to any and all matters so triable herein, whether

or not the same be designated legal or private rights, or in any case, controversy or proceeding related

hereto, notwithstanding the designation or not of such matters as "core proceedings" pursuant to 28

U.S.C. § 157(b)(2)(H), and whether such jury trial right is pursuant to statute or the United States

Constitution;

       d.       Right to have the reference of this matter withdrawn by the United States District Court in

any matter or proceeding subject to mandatory or discretionary withdrawal; and

       e.       Other rights, claims, actions, defenses, setoffs, recoupments or other matters to which this

party is entitled under any agreements at law or in equity or under the United States Constitution.

Dated: March 26, 2019                                   ALDRIDGE PITE, LLP


                                                        /s/ Wanda D. Murray
                                                        Wanda D. Murray (SBN 566381)
                                                        WMurray@aldridgepite.com
                                                        Aldridge Pite, LLP
                                                        Fifteen Piedmont Center
                                                        3575 Piedmont Road, N.E., Suite 500
                                                        Atlanta, GA 30305
                                                        Phone: (404) 994-7400
                                                        Fax: (619) 590-1385




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                                   CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing REQUEST FOR SERVICE OF COPIES was served on

March 26, 2019. Service was accomplished by the method and to the following as indicated:

BY ELECTRONIC NOTICE OR FIRST CLASS MAIL

Scott J Curry
Faith E Jackson-Curry
17849 Green Willow Dr
Tampa, FL 33647-2242

Angela M Reimer
Post Office Box 340180
Tampa, FL 33694
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Stephen L Meininger
707 North Franklin Street
Suite 850
Tampa, FL 33602
SLMeininger@earthlink.net




I declare under penalty of perjury that the foregoing is true and correct.

Dated: March 26, 2019                                  /s/ Katherine Nesser
                                                       KATHERINE NESSER




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